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                                                                             2422-CC11686

                       IN THE CIRCUIT COURT OF ST. LOUIS CITY
                                 STATE OF MISSOURI

DORA PELLETIER                                )
                                              )
        Plaintiff,                            )
                                              )
v.                                            )       Case No.
                                              )
SAINT LOUIS UNIVERSITY                        )
Serve on:                                     )
Officer or Office Manager                     )
221 North Grand                               )
St. Louis, MO 63101                   and     )       JURY TRIAL REQUESTED
                                              )
SSM HEALTH CARE GROUP                         )
d/b/a SLUCare Physician Group                 )
       Defendants.                            )
                                              )
Serve on:                                     )
CT Corporation Sytem                          )
5661 Telegraph Rd Ste 4B                      )
St. Louis, MO 63129-4275                      )

              PETITION FOR WRONGFUL TERMINATION IN VIOLATION OF
                         THE MISSOURI HUMAN RIGHTS ACT
                   AND TITLE VII OF THE CIVIL RIGHTS ACT OF 1964

        Plaintiff Dora Pelletier, to redress the injuries Defendants caused after terminating her

because of her sex and in retaliation for opposing discrimination, brings this claim under the

Missouri Human Rights Act, Section 213.0l0 et seq., RSMo 1986, (“MHRA”) and the Title VII of

the Civil Rights Act of 1964, 42 U.S.C. Section 2000e-2000e-17 (as amended). In support thereof,

Plaintiff states:

                                         THE PARTIES

         1.     Plaintiff Dr. Dora Pelletier is a woman.

         2.     Defendant Saint Louis University is a Missouri benevolent corporation in good

 standing with business operations in St. Louis City, Missouri.


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           3.   Defendant SSM Health Care Group d/b/a SLUCare Physician Group is a Missouri

 non-for-profit corporation in good standing with business operations in St. Louis City, Missouri.

                                FACTS COMMONS TO ALL CLAIMS

           4.   SLUCare Physician Group and Saint Louis University employed Dr. Pelletier from

 September 2022 until her termination in June 2023.

           5.   She worked for SLUCare Physician Group and SLU as physician and assistant

 professor.

           6.   On July 11, 2022, Saint Louis University School of Medicine Dean

       , M.D. and SLUCare Physician Group President                          , M.D. jointly sent a

 letter to Dr. Pelletier, saying “we look forward to welcoming you to the Group on your Start Date”

 and providing details about her employment, including her faculty appointment at the medical

 school.

           7.   Specifically, Dr. Pelletier was in the Department of Orthopedic Surgery with a

 specialty in Spinal Deformity and Reconstructive Spine Surgery.

           8.   SLUCare Physician Group and Saint Louis University did not employ Dr. Pelletier

 as a religious minister or a spiritual leader. Her job functions did not include proselytizing or

 teaching the tenants of the Roman Catholic faith. Instead, she provided medical care for her

 patients that had spinal conditions and instruction to Saint Louis University School of Medicine

 students and residents.

           9.                       was the Richard J. Kemme M.D. Endowed Professor of

 Orthopaedic Surgery and chair of the Department of Orthopedic Surgery for Saint Louis

 University’s School of Medicine.




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       10.    In addition,           was the Chair of the Department of Orthopedic Surgery for

SLUCare.

       11.               supervised Dr. Pelletier in her role as a physician and assistant professor.

       12.    Dr. Pelletier met her employers’ legitimate expectations throughout her

employment.

       13.    Dr. Pelletier was one of the few orthopedic surgeons of Defendants who did not

have formal complaints and had a low complication rate, generally but also in comparison to her

male peers.

       14.    Initially, for the first four months of her employment, Dr. Pelletier and

had a strong relationship.

       15.    During this time,             referred her patients, including another physician and

an OR nurse’s close family member.               said Dr. Pelletier was his “first choice.”

       16.              also introduced Dr. Pelletier as the surgeon who was taking over his adult

practice.

       17.    Many different times during this initial time period             told Dr. Pelletier that

he was “so excited,” “pleased,” and “lucky” to have her in the Department. He called her a “bright

spot” in the Department. At Thanksgiving and Christmas time,                 invited Dr. Pelletier to

his home and gave her a Christmas card with this handwritten note: “Happy Holidays! Welcome!

I am so glad that you are here!”

       18.               told Dr. Pelletier that he liked supervising her because she “didn’t need

much,” making it easy to “take care” of her.




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        19.              assigned a nurse to her in December 2022 over other surgeons who were

waiting to be assigned a nurse longer, justifying the assignment to Dr. Pelletier by saying that Dr.

Pelletier was kinder and less demanding.

        20.     Further, others routinely referred Dr. Pelletier patients. CSM Clinic Manager

referred her a close family member and a St Mary’s Orthopedic Nurse Manager referred herself

after witnessing how Dr Pelletier cared for and interacted with patients.

        21.   On February 1, 2023, Dr. Pelletier had clinic at St. Mary’s Hospital. Clinical Nurse

Manager                    approached her, saying to Dr. Pelletier that she was “struggling” and

that she        ) would send over           ’s resident from his Cardinal Glennon clinic to assist

Dr. Pelletier. Dr. Pelletier refused the Clinical Nurse Manager’s offer.

        22.   On February 1, 2023, Dr. Pelletier’s clinic was running smoothly, despite not having

a resident that day.

        23.   Later on, February 1, 2023, Dr. Pelletier commented during her clinic: “I don’t know

what is going on around here. I don’t know if this is because I’m a woman. I don’t know what

this is. I don’t think she [Clinical Nurse Manager                   ] would’ve talked to a man that

way.”

        24.     Two days later, on February 3, 2023,               called Dr. Pelletier to a meeting,

telling her that he was “really bothered” that she had [reportedly] said “I am a woman; my male

counterparts are allowed to do whatever they want with their clinics.” Near the end of the

conversation,            said it “worried” him that Dr. Pelletier had inserted “male/ female issues”

into the workplace.




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        25.    On March 14, 2023, just over a month after her complaints of discrimination,

      terminated Dr. Pelletier’s appointment to the SLU School of Medicine faculty, which also

triggered the end of her employment with SLUCare Physician Group.

        26.    After her complaint of discrimination, Defendants treated Dr. Pelletier differently

and less well. For example,                now voiced new, unfounded issues with Dr. Pelletier’s

communication style, claiming that she is unapproachable and required coaching. He required

that Dr. Pelletier speak with a Saint Louis University employee as part of her employment.

        27.                  reprimanded her for moving from an area where loud, non-work

conversations were taking place that were breaking Dr. Pelletier’s concentration while charting.

        28.               waited to approve her PTO request, approving it only a few days before

it was set to start. She was unable to appropriately plan for travel to visit her family as a result.

        29.               further complained that Dr. Pelletier’s whereabouts were unknown on her

non-clinic days, insisting that she, unlike her male partners who had not complained, work from

the office on those days.

        30.               ordered that Dr. Pelletier take on surgeries for non-urgent matters on her

non-call days and complained when Dr. Pelletier didn’t answer text messages fast enough on her

non-call Sundays.

        31.               also mandated that Dr. Pelletier attend journal club meetings that her male

peers did not always attend.

        32.    Dr. Pelletier’s support staff unnecessarily were told that              was “on high

alert with Dr. Pelletier.”

        33.    Further,           sent a negative, unfounded communication about Dr. Pelletier to

a hospital where she had gained employment.



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        34.   Finally,           also treated Dr. Pelletier differently when it came to nursing care

resources after her complaint of discrimination. Specifically,                 withdrew Dr. Pelletier’s

nursing support. On several occasions,                ’s direct report transferred Dr. Pelletier nurse to

a different clinic, leaving her without one.

        35.   Around this time in 2023,                announced that he routinely uses the doctors’

nurses against them as a form of punishment.

        36.   In May 2023,               and Nurse Manager                                 removed Dr.

Pelletier’s nurse support all together, “strictly prohibiting” that any nurse provide nursing care to

her patients. This included removing all nurses from monitoring patient inquiries without telling

Dr. Pelletier or having someone monitoring her former nurse’s voicemail. One of her patients

had to call at least four different times to receive care after experiencing progressive pain and

disability.

        37.   Dr. Pelletier’s last day of employment was June 30, 2023.

        38.   SLU and SLUCare Physician Group fired Dr. Pelletier for a pretextual reason.

        39.   Dr. Pelletier asserts that SLU and SLUCare Physician Group terminated her

because of her sex and complaints about discrimination.

                                               COUNT I

        SEX DISCRIMINATION AND RETALIATION IN VIOLATION OF
   THE MISSOURI HUMAN RIGHTS ACT AGAINST SAINT LOUIS UNIVERSITY

        40.   Plaintiff incorporates the above paragraphs 1 – 39.

        41.   The unlawful employment practices complained of herein were committed within

St. Louis City, Missouri. Jurisdiction and venue in this Court are, therefore, proper pursuant to

Section 231.111, R.S. Mo. 1999.



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       42.    At all relevant times, Defendant Saint Louis University employed more than six

persons and is an employer within the meaning of the MHRA.

       43.    On September 5, 2023, Dr. Pelletier filed Charge of Discrimination No. FE-09/23-

36697, 560-2023-03350 with the Equal Employment Opportunity Commission (“EEOC”) within

180 days of her termination announcement.

       44.    On December 6, 2023, MCHR issued a “Notice of Termination of Proceedings”

regarding her Saint Louis University Charge which administratively closed Dr. Pelletier’s case

without issuing to her a Right to Sue.

       45.    On January 3, 2023, Dr. Pelletier filed a Petition for Writ of Mandamus in Saint

Louis City Circuit Court against the MCHR, requesting the Court direct MCHR to issue to her a

Right to Sue among other relief. Her Petition for Writ has been transferred to Cole County Circuit

Court is still pending against the MCHR and Defendants.

       46.    Dr. Pelletier believes the Missouri Courts will direct the MCHR to issue to her a

Right to Sue as part of the relief granted in the Cole County action.

       47.    Dr. Pelletier has filed this lawsuit within two years of her termination

announcement.

       48.    Defendants, by their actions and failures to act, including but not limited to those

described above, discriminated against Dr. Pelletier because of her sex and opposition to sex

discrimination in violation of the Missouri Human Rights Act.

       49.    Dr. Pelletier’s sex and opposition to discrimination was a motivating factor in

Defendant Saint Louis University’s decision to terminate her employment and other actions that

have harmed her.




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        50.    As a result of Defendant Saint Louis University’s actions and failures to act as

described herein, Dr. Pelletier has suffered non-diagnosed emotional pain, suffering, humiliation,

inconvenience, mental anguish and loss of enjoyment of life.

        51.    In addition, Dr. Pelletier has lost income and benefits of employment and has

incurred and will continue to incur attorney's fees, costs and expenses of suit.

        52.    Defendant Saint Louis University intentionally acted without just cause or acted

with a deliberate and flagrant disregard for the safety of others. Its actions have harmed Dr.

Pelletier.

       WHEREFORE, Plaintiff prays that this Court will, after trial by jury, enter judgment in her

favor and against Defendant Saint Louis University, in amounts to be determined at trial, for her

back pay and lost benefits, front pay, interest on back pay, compensation for emotional distress,

punitive damages, attorneys’ fees and costs of suit, and for such other relief as justice requires.

                                            COUNT II

     SEX DISCRIMINATION AND RETALIATION IN VIOLATION OF TITLE VII
     OF THE CIVIL RIGHTS ACT OF 1964 AGAINST SAINT LOUIS UNIVERSITY

        53.    Plaintiff incorporates the above paragraphs 1 – 39.

        54.    The unlawful employment practices complained of herein were committed within

St. Louis City, Missouri. Jurisdiction and venue in this Court are, therefore, proper pursuant to

42 U.S.C. §2000e-5(f)(3).

        55.    At all relevant times, Defendant Saint Louis University employed more than fifteen

persons and is an employer within the meaning of the Title VII.

        56.    On September 5, 2023, Dr. Pelletier filed Charge of Discrimination No. FE-09/23-

36697, 560-2023-03350 with the Equal Employment Opportunity Commission (“EEOC”) within

300 days of her termination announcement.

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        57.    On September 13, 2024, the EEOC issued to Dr. Pelletier a Notice of Right to Sue

on Charge 560-2023-03350 against Saint Louis University.

        58.    Defendants, by their actions and failures to act, including but not limited to those

described above, discriminated against Dr. Pelletier because of her sex and opposition to sex

discrimination in violation of the Title VII.

        59.    As a result of Defendant Saint Louis University’s actions and failures to act as

described herein, Dr. Pelletier has suffered non-diagnosed emotional pain, suffering, humiliation,

inconvenience, mental anguish and loss of enjoyment of life.

        60.    In addition, Dr. Pelletier has lost income and benefits of employment and has

incurred and will continue to incur attorney's fees, costs and expenses of suit.

        61.    Defendant Saint Louis University’s conduct was outrageous because of its evil

motive or reckless indifference to the rights of Plaintiff and as such, warrants an award of punitive

damages in such sum as will serve to punish Defendant and to deter him and others from like

conduct.

       WHEREFORE, Plaintiff prays that this Court will, after trial by jury, enter judgment in her

favor and against Defendant Saint Louis University, in amounts to be determined at trial, for her

back pay and lost benefits, front pay, interest on back pay, compensation for emotional distress,

punitive damages, attorneys’ fees and costs of suit, and for such other relief as justice requires.



                                            COUNT III
        SEX DISCRIMINATION AND RETALIATION IN VIOLATION OF
  THE MISSOURI HUMAN RIGHTS ACT AGAINST SLUCARE PHYSICIAN GROUP

        62.    Plaintiff incorporates the above paragraphs 1 – 39.




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       63.    The unlawful employment practices complained of herein were committed within

St. Louis City, Missouri. Jurisdiction and venue in this Court are, therefore, proper pursuant to

Section 231.111, R.S. Mo. 1999.

       64.    At all relevant times, Defendant SLUCare Physician Group employed more than

six persons and is an employer within the meaning of the MHRA.

       65.    On September 5, 2023, Dr. Pelletier filed Charge of Discrimination No. FE-09/23-

36699, 560-2023-033654 against Defendant SLUCare with the Equal Employment Opportunity

Commission (“EEOC”) within 180 days of her termination announcement.

       66.    On December 20, 2023, MCHR issued a “Notice of Termination of Proceedings”

regarding her SLUCare Charge, which administratively closed Dr. Pelletier’s case without

issuing to her a Right to Sue.

       67.    On January 3, 2023, Dr. Pelletier filed a Petition for Writ of Mandamus in Saint

Louis City Circuit Court against the MCHR, requesting the Court direct MCHR to issue to her a

Right to Sue among other relief. Her Petition for Writ has been transferred to Cole County Circuit

Court is still pending against the MCHR and Defendants.

       68.    Dr. Pelletier believes the Missouri Courts will direct the MCHR to issue to her a

Right to Sue as part of the relief granted in the Cole County action.

       69.    Dr. Pelletier has filed this lawsuit within two years of her termination

announcement.

       70.    Defendants, by their actions and failures to act, including but not limited to those

described above, discriminated against Dr. Pelletier because of her sex and opposition to sex

discrimination in violation of the Missouri Human Rights Act.




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        71.    Dr. Pelletier’s sex and opposition to discrimination was a motivating factor in

Defendant SLUCare’s decision to terminate her employment and other actions that have harmed

her.

        72.    As a result of Defendant SLUCare’s actions and failures to act as described herein,

Dr. Pelletier has suffered non-diagnosed emotional pain, suffering, humiliation, inconvenience,

mental anguish and loss of enjoyment of life.

        73.    In addition, Dr. Pelletier has lost income and benefits of employment and has

incurred and will continue to incur attorney's fees, costs and expenses of suit.

        74.    Defendant SLUCare intentionally acted without just cause or acted with a

deliberate and flagrant disregard for the safety of others. Its actions have harmed Dr. Pelletier.

       WHEREFORE, Plaintiff prays that this Court will, after trial by jury, enter judgment in her

favor and against Defendant SLUCare, in amounts to be determined at trial, for her back pay and

lost benefits, front pay, interest on back pay, compensation for emotional distress, punitive

damages, attorneys’ fees and costs of suit, and for such other relief as justice requires.

                                            COUNT IV

         SEX DISCRIMINATION AND RETALIATION IN VIOLATION OF
  TITLE VII OF THE CIVIL RIGHTS ACT OF 1964 AGAINST SLUCare PHYSICIANS
                                 GROUP

        75.    Plaintiff incorporates the above paragraphs 1 – 39.

        76.    The unlawful employment practices complained of herein were committed within

St. Louis City, Missouri. Jurisdiction and venue in this Court are, therefore, proper pursuant to

42 U.S.C. §2000e-5(f)(3).

        77.    At all relevant times, Defendant SLUCare employed more than fifteen persons and

is an employer within the meaning of the Title VII.



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        78.    On September 5, 2023, Dr. Pelletier filed Charge of Discrimination No. FE-09/23-

36699, 560-2023-033654 with the Equal Employment Opportunity Commission (“EEOC”)

within 300 days of her termination announcement.

        79.    On September 13, 2024, the EEOC issued to Dr. Pelletier a Notice of Right to Sue

on Charge 560-2023-033654 against SLUCare.

        80.    Defendant SLUCare, by their actions and failures to act, including but not limited

to those described above, discriminated against Dr. Pelletier because of her sex and opposition to

sex discrimination in violation of the Title VII.

        81.    As a result of Defendant SLUCare’s actions and failures to act as described herein,

Dr. Pelletier has suffered non-diagnosed emotional pain, suffering, humiliation, inconvenience,

mental anguish and loss of enjoyment of life.

        82.    In addition, Dr. Pelletier has lost income and benefits of employment and has

incurred and will continue to incur attorney's fees, costs and expenses of suit.

        83.    Defendant SLUCare’s conduct was outrageous because of its evil motive or

reckless indifference to the rights of Plaintiff and as such, warrants an award of punitive damages

in such sum as will serve to punish Defendant and to deter him and others from like conduct.

       WHEREFORE, Plaintiff prays that this Court will, after trial by jury, enter judgment in her

favor and against Defendant SLUCare, in amounts to be determined at trial, for her back pay and

lost benefits, front pay, interest on back pay, compensation for emotional distress, punitive

damages, attorneys’ fees and costs of suit, and for such other relief as justice requires.

                                               Respectfully Submitted,

                                               SEDEY HARPER WESTHOFF, P.C.
                                               Attorney for Plaintiff




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                                    _/s/ Jessica M. Scales____________
                                    Jessica M. Scales, #64136
                                    2711 Clifton Avenue
                                    St. Louis, MO 63139
                                    314/773-3566
                                    314/773-3615 (fax)
                                    jscales@sedeyharper.com




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                                                                     21
               Summons in Civil Case
               IN THE 22ND JUDICIAL CIRCUIT, CITY OF ST LOUIS, MISSOURI

 Judge or Division:                                       Case Number: 2422-CC11686
 ELIZABETH BYRNE HOGAN
 Plaintiff/Petitioner:                                 Plaintiff’s/Petitioner’s Attorney/Address
 DORA PELLETIER                                        JESSICA MARIE SCALES
                                                       2711 CLIFTON AVE
                                                   vs. ST. LOUIS, MO 63139
 Defendant/Respondent:                                 Court Address:
 SAINT LOUIS UNIVERSITY                                CIVIL COURTS BUILDING
 Nature of Suit:                                       10 N TUCKER BLVD                                                     (Date File
 CC Employmnt Discrmntn 213.111                        SAINT LOUIS, MO 63101                                                Stamp for
                                                                                                                             Return)
 The State of Missouri to:              SAINT LOUIS UNIVERSITY
                                        Alias:

 OFFICER OR OFFICE MANAGER
 221 NORTH GRAND
 SAINT LOUIS, MO 63101


You are summoned to appear before this court and to file your pleading to the petition, a copy of which
is attached, and to serve a copy of your pleading upon the attorney for plaintiff/petitioner at the above
address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to file
your pleading, judgment by default may be taken against you for the relief demanded in the petition.

             COURT SEAL OF


                                                            December 10, 2024
                                                                 Date                                             Clerk

            CITY OF ST LOUIS

Further Information:




SJRC (07-24) SM30 (SMCC) For Court Use Only: Document ID # 24-SMCC-166271 of 2 (2422-CC11686)    Civil Procedure Form No. 1, SCR 54.01 – 54.05,
                                                                                        54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
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                                                                                              Case Number: 2422-CC11686

                                                   Officer’s or Server’s Return
Note to serving officer: Service should be returned to the court within 30 days after the date of issue.

I certify that I have served the above Summons by: (check one)
      delivering a copy of the summons and petition to the defendant/respondent.
      leaving a copy of the summons and petition at the dwelling house or usual place of abode of the
      defendant/respondent with _________________________________________________________,
      a person at least 18 years of age residing therein.
      (for service on a corporation) delivering a copy of the summons and petition to:
      ________________________________________ (name) ___________________________ (title).

      other: __________________________________________________________________________.

Served at __________________________________________________________________ (address)
in ______________________________ (County/City of St. Louis), MO, on __________________ (date)
at _____________ (time).

_______________________________________                                _________________________________________
      Printed Name of Officer or Server                                        Signature of Officer or Server


                                Must be sworn before a notary public if not served by an authorized officer.
                                Subscribed and sworn to before me on __________________________ (date).
          (Seal)
                                My commission expires: _________________ __________________________
                                                             Date              Notary Public


Service Fees (if applicable)
Summons                   $
Non Est                   $
Sheriff’s Deputy Salary
Supplemental Surcharge $                      10.00
Mileage                   $                                  (______ miles @ $.______ per mile)
Total                     $


A copy of the summons and petition must be served on each defendant/respondent. For methods of
service on all classes of suits, see Supreme Court Rule 54.




SJRC (07-24) SM30 (SMCC) For Court Use Only: Document ID # 24-SMCC-166272 of 2 (2422-CC11686)    Civil Procedure Form No. 1, SCR 54.01 – 54.05,
                                                                                        54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
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                     IN THE CIRCUIT COURT OF ST. LOUIS COUNTY
                                STATE OF MISSOURI

DORA PELLETIER                            )
                                          )
       Plaintiff,                         )
                                          )
v.                                        )       Case No.   2422-CC11686
                                          )
SAINT LOUIS UNIVERSITY                    )
                                          )
                      and                 )
                                          )
SSM HEALTH CARE GROUP                     )
d/b/a SLUCare Physician Group             )
                                          )
                                          )
       Defendants.                        )
                                          )

                                SERVICE FEE MEMORANDUM

       COMES NOW Plaintiff Dora Pelletier, by and through counsel, Jessica Scales of the law

firm Sedey Harper Westhoff, P.C., paying additional $36 for Service of Summons upon Defendant

Saint Louis University.


                                          Respectfully submitted,

                                          SEDEY HARPER WESTHOFF
                                          Attorneys for Relator

                                          /s/ Jessica M. Scales
                                          Jessica M. Scales, #64136
                                          SEDEY HARPER WESTHOFF, P.C.
                                          2711 Clifton Ave.
                                          St. Louis, MO 63139
                                          314/773-3566
                                          314/773-3615 (fax)
                                          jscales@sedeyharper.com
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                              CERTIFICATE OF SERVICE

      The undersigned attorney hereby certifies that on December 10, 2024, the foregoing
document was filed electronically with the Clerk of the Court using the ECF system.

                                           /s/ Jessica M. Scales
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                                                                     25
               Summons in Civil Case
               IN THE 22ND JUDICIAL CIRCUIT, CITY OF ST LOUIS, MISSOURI

 Judge or Division:                                       Case Number: 2422-CC11686
 ELIZABETH BYRNE HOGAN
 Plaintiff/Petitioner:                                 Plaintiff’s/Petitioner’s Attorney/Address
 DORA PELLETIER                                        JESSICA MARIE SCALES
                                                       2711 CLIFTON AVE
                                                   vs. ST. LOUIS, MO 63139
 Defendant/Respondent:                                 Court Address:
 SAINT LOUIS UNIVERSITY                                CIVIL COURTS BUILDING
 Nature of Suit:                                       10 N TUCKER BLVD                                                     (Date File
 CC Employmnt Discrmntn 213.111                        SAINT LOUIS, MO 63101                                                Stamp for
                                                                                                                             Return)
 The State of Missouri to:              SSM HEALTHCARE GROUP
                                        Alias: DBA SLUCARE PHYSICIAN GROUP
 CT CORPORATION SYSTEM
 5661 TELEGRAPH RD STE 4B
 SAINT LOUIS, MO 63129


You are summoned to appear before this court and to file your pleading to the petition, a copy of which
is attached, and to serve a copy of your pleading upon the attorney for plaintiff/petitioner at the above
address all within 30 days after receiving this summons, exclusive of the day of service. If you fail to file
your pleading, judgment by default may be taken against you for the relief demanded in the petition.

             COURT SEAL OF


                                                            December 10, 2024
                                                                 Date                                             Clerk

            CITY OF ST LOUIS

Further Information:




SJRC (07-24) SM30 (SMCC) For Court Use Only: Document ID # 24-SMCC-166161 of 2 (2422-CC11686)    Civil Procedure Form No. 1, SCR 54.01 – 54.05,
                                                                                        54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
           Case: 4:25-cv-00025-SRW                  Doc. #: 1-3        Filed: 01/08/25          Page: 20 of 20 PageID #:
                                                                     26
                                                                                              Case Number: 2422-CC11686

                                                   Officer’s or Server’s Return
Note to serving officer: Service should be returned to the court within 30 days after the date of issue.

I certify that I have served the above Summons by: (check one)
      delivering a copy of the summons and petition to the defendant/respondent.
      leaving a copy of the summons and petition at the dwelling house or usual place of abode of the
      defendant/respondent with _________________________________________________________,
      a person at least 18 years of age residing therein.
      (for service on a corporation) delivering a copy of the summons and petition to:
      ________________________________________ (name) ___________________________ (title).

      other: __________________________________________________________________________.

Served at __________________________________________________________________ (address)
in ______________________________ (County/City of St. Louis), MO, on __________________ (date)
at _____________ (time).

_______________________________________                                _________________________________________
      Printed Name of Officer or Server                                        Signature of Officer or Server


                                Must be sworn before a notary public if not served by an authorized officer.
                                Subscribed and sworn to before me on __________________________ (date).
          (Seal)
                                My commission expires: _________________ __________________________
                                                             Date              Notary Public


Service Fees (if applicable)
Summons                   $
Non Est                   $
Sheriff’s Deputy Salary
Supplemental Surcharge $                      10.00
Mileage                   $                                  (______ miles @ $.______ per mile)
Total                     $


A copy of the summons and petition must be served on each defendant/respondent. For methods of
service on all classes of suits, see Supreme Court Rule 54.




SJRC (07-24) SM30 (SMCC) For Court Use Only: Document ID # 24-SMCC-166162 of 2 (2422-CC11686)    Civil Procedure Form No. 1, SCR 54.01 – 54.05,
                                                                                        54.13, and 54.20; 506.120 – 506.140, and 506.150 RSMo
